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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 PATHWAY IP, LLC,

               Plaintiff,
        v.                                      Civil No.: 1:24-cv-05218

 The Individuals Corporations, Limited          Honorable Franklin U. Valderrama
 Liability Companies, Partnerships, and
 Unincorporated Associations Identified on      Magistrate Judge Jeffrey T. Gilbert
 Schedule A to the Complaint,

               Defendants.

      STATUS REPORT REGARDING MOTION TO RECOVER DAMAGES FOR
         PLAINTIFF’S WRONGFUL TEMPORARY RESTRAINING ORDER

       Defendant Lanyuantai (Def. 53), through its attorneys, respectfully submits the following

status report regarding its motion to recover damages for Plaintiff’s Wrongful Temporary

Restraining Order:

       1.     The parties have reached an agreement as to the amount of compensation owing to

Defendant Lanyuantai for any and all fees, costs, and damages due to the TRO.

       2.     Accordingly, by agreement, Lanyuantai’s motion is withdrawn as moot.

Date: November 12, 2024                            Respectfully submitted,
                                                   DEFENDANT LANYUANTAI

                                                   By: /s/ Daniel I. Konieczny

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